IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,

PENNSYLVANIA

CHRISTINE BIROS, an individual, CIVIL DIVISION

Plaintiff, No. 17C 304886

VS.

U LOCK, INC,, a Pennsylvania
corporation,

Defendant.

ORDER OF COURT

AND NOW, this of day 5 August, 2022, it is hereby ORDERED that,

concerning that certain real property situate at 14140 Route 30, North Huntingdon, PA 15642
with a County Tax Map No. 54-03-10-0-103 (the “Property”):
(1) ‘the Tax Claim Office of Westmoreland County is hereby directed to stay
the tax sale of the Property scheduled for September 12, 2022; and
(2) remove the Property from the tax sale list for the tax sale scheduled for

September 12, 2022.

. . }
Hh Obit Core o
ATTEST: Fo
GINA O’BARTO Pos
PROTHONOTARY ze
x a

Os Y 9Z ony Ua

AINOOO GNWIENOW ISSA
‘BOLO SAMWLONOHLONd

 
